
Carriers. — Plaintiff seeks to recover freight transportation charges for services performed for defendant. Pursuant to a memorandum report of the commissioner stating that at a pretrial conference the parties, upon consideration of the *963matters set forth in plaintiff’s statement of facts for admission, defendant’s response thereto, and an audit by the General Accounting Office, agreed that the net amount due plaintiff is $1,039.53. Plaintiff agreed to accept that sum in full settlement and defendant agreed to the dismissal of its counterclaim with prejudice. On June 16, 1970, the court entered judgment for plaintiff for $1,039.53, and dismissed with prejudice defendant’s counterclaim in the amount of $506.42.
